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                                  United States District Court
                                   Southern District of Georgia
                                             Brunswick Division



       KORONE ROBINSON.                       .

                                              )
       vs.                                    )        CASE NUMBER : CV 217-99
       CITY OF DARIEN,et al.,                 )

                                                   NOTICE


       You are hereby nolified that a motion for summary judgment was filed by : Defendants
                                     on                 2/1/2019                   . The motion will be submitted
for decision by the Court pursuant to the local rules. Unless you file for and are granted an extension of time to
respond, all pleadings, affidavits,and other evidence in opposition to this motion for summaryjudgment MUST be
filed with the Clerk's office ON OR BEFORE                         02/22119                       (21 days).
       You need to know that:
        1.     Ifyou do not timely respond to this motion for summaryjudgment,the consequence may be that the
               Court will deem tlie motion unopposed,and the Court may enterjudgment against you.
       2.      If your opponent's Statement of Material Facts sets forth facts supported by evidence, the Court may
               assume that you admit all such facts unless you oppose those facts with your own Statement of Material
               Facts which also sets forth facts supported by evidence. Also, your opponent may use its Statement of
               Material Facts to show that there is insufficient evidence to support your claims or defenses.
       3.      If a summary judgment motion is properly supported, you may not rest on the allegations
               in your pleadings alone. To oppose a properly supported motion for summary judgment,
               you will probably need to rebut it with admissible evidence.
       4.      You have a right to file affidavits or other material in opposition to the motion for summary
               judgment.
        5.     Federal Rule of Civil Procedure 56 governs summaryjudgment motions. You should consult this rule
               as well as the Local Rules for the Southern DisU-ict of Georgia,especially Local Rule 56.1.
       6.      Pursuant to Rules 5 & 6 of the Federal Rules of Civil Procedure, a response is due
               within 21 days of service.
    IF YOU DO NOT RESPOND AS DIRECTED IN THIS NOTICE,THE COURT MAY ENTER A FINAL
       JUDGMENT AGAINST YOU WITHOUT A FULL TRIAL OR ANY OTHER PROCEEDINGS.

I certify that this 4th day of      February              2019      a correct copy of this notice was sent
electronically through CM/ECF to all parties in this case in accordance with this Court's Administrative
Procedures. I further certify that any party not authorized to receive notification of electronic filing has been
sent a correct copy of this notice via US Mail.

                                          SCOTT L. POFF,


                                                     UTY CLERK
